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                   UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF TEXAS
                           FORT WORTH DIVISION


UNITED STATES OF AMERICA,                     )
                                              )
   Plaintiff                                  )
                                              )
v.                                            )       Case No. 4:21-cr-005-O-1
                                              )
THE BOEING COMPANY,                           )
                                              )
   Defendant.                                 )
_____________________________________________ )

  STATEMENT BY NAOISE CONNOLLY RYAN, ET AL. REGARDING PROPOSED
COURT-IMPOSED CONDITIONS OF RELEASE ON BOEING UNDER 18 U.S.C. § 3142


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  STATEMENT BY NAOISE CONNOLLY RYAN, ET AL. REGARDING PROPOSED
COURT-IMPOSED CONDITIONS OF RELEASE ON BOEING UNDER 18 U.S.C. § 3142

                                          Introduction

       Naoise Connolly Ryan et al.1 (the “victims’ representatives”), through undersigned

counsel, file this statement regarding conditions of release that the Court should impose pursuant

to its authority under 18 U.S.C. § 3142. This brief is authorized under the Crime Victims’ Rights

Act (CVRA), which provides that the crime victims (and their representatives) are entitled to be

“reasonably heard” regarding the “release” of a criminal defendant—such as The Boeing

Company. 18 U.S.C. § 3771(a)(5). This Court has also authorized the victims’ representatives to

be heard in an earlier order. ECF No. 162 at 4-5.

       Hearing from the victims’ representatives’ is particularly important in this extraordinary

case. This Court has now determined that, as a direct and proximate result of Boeing’s crime, 346

people died. ECF 116 at 16 (“In sum, but for Boeing’s criminal conspiracy to defraud the FAA,

346 people would not have lost their lives in the crashes.”). This defendant in this case thus

committed the deadliest corporate crime in U.S. history.2




       1
          In addition to Ms. Ryan, the other victims’ family members filing this motion are Emily
Chelangat Babu and Joshua Mwazo Babu, Catherine Berthet, Huguette Debets, Luca Dieci, Bayihe
Demissie, Sri Hartati, Zipporah Kuria, Javier de Luis, Nadia Milleron and Michael Stumo, Chris
Moore, Paul Njoroge, Yuke Meiske Pelealu, John Karanja Quindos, Guy Daud Iskandar Zen S.,
and others similarly situated. They are supported by more than one hundred other families.
        2
           According to Bloomberg Law, PG&E’s 2020 plea to 84 separate involuntary
manslaughter counts in connection with a wildfire in Paradise, California, was “the deadliest
corporate crime in U.S. history.” BLOOMBERG LAW, Deadliest Corporate Crime in the U.S. Will
End with 84 Guilty Pleas (June 15, 2020). With this Court’s recent finding that that Boeing
criminally caused the deaths of 346 people, this case became the deadliest corporate crime in our
nation’s history.
                                                  1
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       And yet, despite the deaths of hundreds, the Justice Department3 appears to believe that

this case did not even warrant any conditions of release being imposed on Boeing. Working hand-

in-glove with an admitted corporate criminal, the Department contrived to avoid an arraignment—

and thus effectively prevented this Court from imposing even the standard conditions of release

on Boeing. Through its covert—and illegal4—deferred prosecution agreement (DPA), the

Department proposed to effectively immunize Boeing from any criminal responsibility for what it

has done. And by including in the DPA extraneous—and unsupportable language—about the lack

of facilitation of Boeing’s crime by its senior management (ECF 4 at 6),5 the DPA attempts to block

individuals from being held accountable. Little wonder that knowledgeable independent observers

have uniformly condemned this DPA. See, e.g., Amicus Br. of Senator Ted Cruz, DE 90 at 2 (“It

is important that the government does not walk away from this case with a mere slap on the wrist,

especially since … collusive settlements are an increasing problem in federal enforcement”);

Corporate Crime Reporter, Columbia Law Professor John Coffee Says Boeing Deferred

Prosecution Agreement One of the Worst (Feb. 23, 2021) (quoting Professor Coffee as concluding

this “is an egregious case and one of the worst deferred prosecution agreements I have seen”).




       3
          All references in this brief to the “Justice Department” refer to the “Main Justice” in
Washington, D.C.—specifically the Criminal Division’s Fraud Section—not the career prosecutors
in the U.S. Attorney’s Office for the Northern District of Texas.
        4
          This Court has previously found that, in negotiating behind closed doors without
informing the victims’ representatives, the Department violated its obligations under the CVRA.
ECF No. 116 at 16-17. The matter of what remedy the Court should impose for those violations is
currently pending. See ECF No. 140 (victims’ representatives’ brief explaining why the only way
to enforce their CVRA rights is to rescind the immunity provisions in the DPA).
        5
          See Corporate Crime Reporter, Columbia Law Professor John Coffee Says Boeing
Deferred Prosecution Agreement One of the Worst (Feb. 23, 2021) (quoting Professor Coffee as
concluding that this language exonerating senior management is “without precedent” and that the
Department “cannot know that”).
                                                  2
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       The issue before this Court now is what conditions of release it should impose on Boeing.

As outlined in this brief, given the clear evidence of criminal intent to conceal safety problems

with the MAX—both by Boeing and its then-corporate leadership—this Court should impose three

specific conditions of release: (1) A standard condition that Boeing commit no new crimes; (2) a

condition that Boeing cooperate with an independent corporate monitor who will evaluate

Boeing’s compliance with the DPA; and (3) a condition that the substance of Boeing’s corporate

compliance efforts adopted in light of the DPA be made public to the fullest extent possible.

       I.      The Court Should Broadly Consider Boeing’s Dangerousness in Setting
               Conditions of Release.

       A person charged with an offense may be released pending trial subject to, the “least

restrictive … combination of conditions” that a judicial officer determines “will reasonably assure

... the safety of any other person and the community.” 18 U.S.C § 3142(c)(1)(B). Accordingly, this

Court must make an assessment of what conditions will reasonably assure the safety of the

community.

       The fact that The Boeing Company is a corporation, not an individual, provides no reason

for special treatment. Indeed, the U.S. Attorney’s Office for the Northern District of Texas has

previously argued to this Court that “conditions of release can be applied to a corporate entity to

ensure the safety of the community.” United States v. USPLABS, LLC, No. 3:15-cr-00496-L, Dkt.

139 at 2 (N.D. Tex. 2016) (citing 18 U.S.C. § 3142). Here, the Court must make its safety

assessment against the backdrop that this case involves Boeing—the deadliest corporate criminal

in U.S. history.

       Although § 3142 “requires a hearing before a court detains a defendant, § 3142(e)(1), the

[section] allows a court ‘at any time’ to ‘impose additional or different conditions of release.’

§ 3142(c)(3) (emphasis added).” United States v. Emakoji, 990 F.3d 885, 892 (5th Cir. 2021)
                                                3
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(affirming order of this Court). In making a release determination, this Court is not constrained by

the rules of evidence. See Fed. R. Evid. 1101(d)(3) (rules of evidence do not apply when court is

“considering whether to release on bail or otherwise”); United States v. Montemayor, 666 F.2d

235, 2367 (5th Cir. 1982) (rules of evidence do not apply to detention hearings before the district

court); United States v. Walker, No. 2:18-CR-37-FL-1, 2019 WL 4412909, at *5 (E.D.N.C. 2019)

(“because the evidentiary hearing on defendant’s motions is analogous to a detention hearing, it is

a “miscellaneous proceeding” to which the Rules of Evidence do not apply.”). Commonly district

courts receive information concerning release by way of proffer. See, e.g., United States v. Smith,

79 F.3d 1208 (D.C. Cir. 1996) (per curiam) (holding defendant’s Confrontation Clause rights were

not violated at pretrial detention hearing when government proceeded by proffer). In setting

conditions of release, the standard of proof is “the simple preponderance standard.” United States

v. Fortna, 769 F.2d 243, 250 (5th Cir. 1985).

        When considering the conditions of release, the Court is not limited to dangerous conduct

described in a pending indictment and often will consider other criminal conduct committed by a

defendant. As a matter of general practice, prosecutors customarily “supply such facts as

defendant’s prior bad record in order to show that the defendant’s bail should be higher or the

conditions of his release more strict than would typically be true for a person so charged….” 4

WAYNE R. LAFAVE ET AL., CRIMINAL PROCEDURE § 12.1(d) (Nov. 2022 update).

       Here, the victims’ representatives provide important information bearing on the Court’s

determination of release conditions. As a leading criminal procedure treatise explains, the victim’s

right to be heard at a bail hearing can “contribute information that has a direct bearing upon the

questions before the judge on that occasion, which involve the terms and conditions of release ….”

4 WAYNE R. LAFAVE ET AL., CRIMINAL PROCEDURE § 12.1(f) (Nov. 2022 update) (citing Paul G.

                                                 4
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Cassell, Balancing the Scales of Justice: The Case for and the Effects of Utah’s Victims’ Rights

Amendment, 1994 Utah L. Rev. 1373, 1394)). In considering release issues, there are “at least three

matters to which [a] victim’s statement might … [be] relevant or material …: the strength of the

case against defendants, the seriousness of the crimes they are alleged to have committed, and the

reasonable apprehension of danger to the victim.” United States v. Marcello, 370 F. Supp. 2d 745

(N.D. Ill. 2005). The CVRA requires that “the victim to be given an opportunity actually to be

‘heard’ rather than afforded some alternate means of communicating her views. ‘Indeed, the very

purpose of this section is to allow the victim to appear personally and directly address the court.

This section would fail in its intent if courts determined that written, rather than oral

communication, could generally satisfy this right.’” United States v. Turner, 367 F. Supp. 2d 319,

333 (E.D.N.Y. 2005) (quoting CVRA Senate Debate at S4268 (statement of Sen. Kyl)).

       II.     Boeing’s Criminal Conduct Demands Aggressive Oversight to Protect Public
               Safety and Transparency in the Process.

       Simply put, The Boeing Company is one of the most dangerous criminals to ever appear

before this Court. Boeing’s corporate crime is undoubtedly the deadliest ever committed within

this District. But it is important to understand the full scope of Boeing’s criminality for the Court

to craft appropriate conditions that will assure the safety of the community.

       Consistent with normal practice in hearings of this type, the victims’ representatives proffer

the following facts, which they represent they could establish at an evidentiary hearing.6 Many of


       6
          The Court will immediately recognize that many of these facts were previously proffered
by the victims’ representatives. See ECF No. 72-1. In earlier proceedings involving the “crime
victim” issue, the Court found it unnecessary to consider all of the points advanced in the proffer;
it was able to resolve that issue based on a limited part of that proffer—specifically, expert
testimony from Vickie Norton and Christopher Keyes. In the separate CVRA remedies briefing
currently pending before the Court, the victims’ representatives have filed a motion for leave to re-
file that proffer of facts and for an evidentiary hearing. ECF No. 124. That motion is opposed and
remains pending. In addition, victims’ representatives have filed a motion to supplement the record
                                                   5
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these facts are currently in the record in this case—and in the public record.7 In addition, the

victims’ representatives believe that the Justice Department possesses in its files significant

information corroborating the factual allegations that follow. Unfortunately, however, the

Department has decided not to provide that information to the Court. The victims discuss the

Department’s failure to provide relevant information to the Court in Part IV, below.

       A. Boeing Concealed Safety Issues from the FAA and Its Airline Customers.

       Turning to the relevant facts surrounding this case, the Court begins with the Criminal

Information that has been filed. ECF No. 1. But in determining what conditions of release to

impose, as just discussed, the Court’s inquiry is broadly the safety of community—an inquiry that

necessarily extends beyond the four corners of the charging document and the connected DPA.

Indeed, given earlier proceedings, it is clear that Boeing’s crime charged in the Criminal

Information directly and proximately produced the deaths of 346 people. Accordingly, this Court

must determine conditions of release for a corporation that is criminally responsible for 346 deaths.

       The Criminal Information and connected DPA do not fully disclose all of Boeing’s criminal

behavior. Indeed, at various points, the DPA almost seems to have been designed to obfuscate

Boeing’s responsibility. For example, the Court will notice that the DPA’s Statement of Facts

contains few facts about what Boeing did after the Lion Air crash. See ¶¶ 48-52. And yet, this is




in this case regarding remedies with findings relevant to Boeing’s dangerousness made by the SEC.
ECF No. 107. If the Court grants these motions in connection with the remedies issues, then the
victims’ representatives would rely on all those facts for purposes of determining release
conditions. Alternatively and in addition, the victims’ representatives simply request an evidentiary
hearing if that Court believes that it requires additional facts to impose the release conditions that
the families seek.
         7
           See, e.g., Evidentiary Hearing (Aug. 5, 2022), Families Ex. 4 (Final Committee Report:
House Committee on Transportation and Infrastructure: The Design, Development & Certification
of the Boeing 737 MAX (Sept. 2020)); Families Exhibit 2 (Indonesian crash report); Families
Exhibit 3 (Ethiopian interim crash report).
                                                   6
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certainly one of the time periods when Boeing’s criminal conspiracy was most active, as it tried to

conceal the MAX’s unsafe design from the public and pilots.

       In this brief, the victims’ representatives will provide to the Court information pointing to

a broader understanding of the scope of Boeing’s criminality. Data obtained from both airplanes

show that the pilots were engaged in a terrifying tug-of-war with the planes’ Maneuvering

Characteristics Augmentation System (MCAS), an aircraft part8 related to a flight control built into

the Boeing 737 MAX’s flight control computer. Pilots of both Flight 302 and Flight 610 ultimately

lost their fight with Boeing’s MCAS.

       The MCAS was a disaster waiting to happen born out of Boeing’s and its leadership’s

criminality. Boeing’s motive for its crimes was a desperate race with its major competitor in the

commercial aviation market, Airbus SE (“Airbus”). To compete with the latest Airbus aircraft, the

A320neo, Boeing thought that it needed a more fuel-efficient aircraft of its own. Boeing rejected

developing a new, state-of-the-art aircraft, as proposed by its engineers, because of the cost.

Instead, Boeing and its leadership made the fateful decision to attach larger and more fuel-efficient

engines to the wings of the decades-old 737, creating the 737 MAX via the Federal Aviation

Administration’s (FAA) Supplemental Type Certification process.

       Adding larger engines caused aerodynamic handling problems and made the 737 MAX

operate differently than earlier 737 models. Since the 737 MAX handled differently than its

predecessors, it would require training for pilots, which would reduce the 737 MAX’s profit

margins as it competed with the A320neo. This profit loss was unacceptable to Boeing’s leadership.

Rather than fix the aircraft’s known, design-induced, inherent aerodynamic instability, Boeing



       8
         Boeing has stipulated that MCAS is an aircraft “part” within the meaning of 18 U.S.C. §
31(a)(7) and 38. See ECF No. 4 at A-7.
                                              7
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instead introduced MCAS in a deceptive effort to replicate more closely the handling

characteristics of the previous 737 models.

       MCAS had not been used on prior 737 aircraft; accordingly, Boeing knew its introduction

could potentially trigger new pilot training requirements and certification issues. This presented

Boeing with a disastrous Catch-22: on the one hand, without MCAS, the MAX could not be

certified utilizing the airplane’s Supplemental Type Certification process, because the MAX’s

handling characteristics would not replicate the handling characteristics of previous 737 airplanes.

And on the other hand, by introducing a new flight control system, regulators would likely require

operators to incorporate additional needed pilot training and require Boeing to conduct additional

flight testing. Either outcome could hurt the 737 MAX’s sales and profitability. Boeing’s criminal

solution was to incorporate MCAS but illegally conceal its characteristics not only from the FAA,

but also other worldwide aviation authorities and its MAX customers. As part of its criminal

conspiracy, Boeing falsely told the FAA that MCAS was just a minor addition to an existing flight

control system on the 737NG and that it “only operates WAY outside of the normal operating

envelope” so that it would rarely, if ever, activate.

       As documented at length in the DPA’s Statement of Facts (ECF No. 4), Boeing’s

representations to the FAA were criminally fraudulent and an illegal conspiracy in violation of 18

U.S.C. § 371. Boeing knew that the MCAS was more powerful and had a much broader operational

envelope but deliberately withheld this information from the FAA, its airline customers, and the

pilots flying those planes to avoid scrutiny of the MCAS and minimize pilot training requirements.

       Boeing’s top-down criminal conspiracy against the FAA—and the direct and proximate

fraud against its airline customers and those flying on the planes—was just one piece in Boeing’s

criminal conspiracy of concealment. Driven to maintain market share, Boeing made the decision

                                                   8
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to haphazardly rush the 737 MAX to market to keep up with Airbus without requiring necessary

safety processes or systems of oversight. Fearful that transparency and disclosure would delay

certification and airplane delivery, Boeing resorted to misleading the FAA, its airline customers,

their pilots, and the public by actively concealing the MCAS’s defects. After each MAX crash,

The Boeing Company continued the conspiracy of concealment, illegally covering up the deadly

risk-taking that led to the two crashes and minimizing the role of MCAS. Indeed, Boeing delayed

producing evidence to the Justice Department for the first six months of the Department’s

investigation, thereby frustrating and delaying the investigation. DPA, ¶ 4(c), ECF No. 4 at 4-5.

       Boeing’s strategy to deceive the FAA and sneak the misrepresented MCAS part past the

regulator was successful, in part because it was the largest aircraft manufacturer in the world.

Under pressure to reach certification date targets, Boeing not only conspired to impede the FAA

(in violation of 18 U.S.C. § 371), but it also made false statements to the FAA (in violation of 18

U.S.C. § 1001). It also engaged in fraud involving aircraft parts—fraud that resulting in death (in

violation of and punishable by 18 U.S.C. § 38(a) & (b)(3)). More broadly—and obviously relevant

to determining conditions of release—Boeing consciously and recklessly disregarded the lives of

others at numerous points leading up to the crashes, including by: designing an airplane with the

powerful automated MCAS susceptible to catastrophic failure in the event of a single defective

angle of attack sensor; failing to conduct a proper hazard analysis of the new MCAS design; failing

to mitigate patent and latent hazards in the new MCAS design; failing to conduct adequate human

factor evaluations of pilot reactions to erroneous activation of MCAS; failing to evaluate the

aerodynamic loads on the manual stabilizer trim wheel when MCAS is activated; failing to identify

MCAS as a safety critical system; failing to properly inform pilots about the new system; failing

to educate and train pilots in all aspects of its operation; failing to properly address the MCAS in

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the airplane’s flight manual; failing to include key safety features or redundant systems of

protection; deceptively obtaining from the FAA an exemption for certification of the 737 MAX

allowing Boeing to obtain certification of the airplane without including a robust cockpit alert

system; delivering 737 MAX airplanes with a version of the flight control system that was

materially different from the flight control system presented to the FAA during certification; and

concealing the 737 MAX’s safety issues from the FAA, airlines, pilots, and the public.

        B. Boeing’s Criminal Conspiracy Led Directly and Proximately to the Lion Air
           Crash.

        Boeing’s failures were not simply engineering mistakes; they were the natural result of the

criminal conspiracy that Boeing has admitted. As Senator Cruz aptly explained in his amicus brief

in this case, “This is not a mine-run fraud case where some low-level employee lied or committed

a technical violation; it is a long-running conspiracy that directly led to some of the worst air travel

disasters of the 21st century.” Amicus Brief of Sen. Ted Cruz, ECF No. 78 at 6. It is impossible for

the conspiracy to have been limited to two persons and a couple of emails and chat messages. This

was one of America’s largest employers—with thousands of employees, many of whom were

involved with engineering, design and testing with checks and approvals of work, over a period

from 2011 to 2018 and beyond, with clear leadership direction to avoid pilot training and keep up

with Airbus to increase the organization’s stock price.

        Boeing fully understood the deadly risks it was taking. Boeing was warned about the

defects in the MCAS system by its own employees and was aware that it was misleading the public

and the FAA. But Boeing criminally conspired to conceal what it was doing because it knew that

disclosing (or properly fixing) the defects would likely delay certification and production of the

737 MAX. Boeing had opportunities time and time again to do the right thing and either give

engineers the time they needed to make the airplane safe or come clean with the public about its
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flaws. Undeterred, Boeing refused to deviate from its plan to increase its stock price by ignoring

safety obligations, leading to the tragic crash of Lion Air Flight JT 610 which plunged into the

Java Sea on October 29, 2018.

       C. Boeing Continued to Conceal Safety Issues After the Lion Air Crash.

       Shortly after the Lion Air crash, Boeing learned that the MCAS was the likely cause, but

again chose to protect its bottom line rather than the flying public. Boeing engaged in a concerted

coverup campaign to illegally deceive the FAA, pilots, airlines, and the public about the 737

MAX’s defects, the MCAS, and its role in the Lion Air crash. Boeing proceeded to blame the

foreign pilots for the crash while denying the role of its own defective airplane and its

responsibility for causing pilots to receive no real training on MCAS. As a result of this criminal

cover-up, Boeing convinced the FAA to permit the 737 MAX to continue flying.

       The Criminal Information in this case is somewhat vague about exactly when Boeing’s

conspiracy ended. The Information indicates that conspiracy operated “[f]rom at least in or around

November 2016 through at least in or around December 2018 ….” Criminal Information, ECF No.

1 at 1 (emphasis added). But Boeing’s conspiracy obviously extended beyond December 2018.

The objectives of the conspiracy (to illegally gain profit for Boeing) clearly extended beyond that

time. And nothing in record suggests (much less proves) that Boeing “took affirmative acts

inconsistent with the object of the conspiracy and communicated in a manner reasonably calculated

to reach co-conspirators.” United States v. Jimenez, 622 F.2d 735 (5th Cir. 1980) (cleaned up).

       Rather than terminate its conspiracy, Boeing doubled down on it. Boeing again and again

put profits over safety with repeated claims—in furtherance of the conspiracy—that the Boeing

737 MAX was so similar to the 737NG that it did not require significant additional training for

pilots familiar with the older generation of 737s. Even after Lion Air Flight 610 crashed, Boeing


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falsely insisted that pilot simulator training was not required while paradoxically blaming “poorly

trained” foreign pilots. Boeing’s misrepresentations gave airlines a false sense of security about

the airplane’s safety and avoided grounding of the 737 MAX. This in turn provided a false sense

of security to the flying public that the airplane was safe to fly.

        Boeing’s criminal cover-up was led by its then-CEO, Dennis Muilenburg, who took the

reins of Boeing’s response to the Lion Air crash. Shortly after the crash, Muilenburg was contacted

at his Chicago-area home and informed about the incident. His first decision was opting not to

ground the immensely profitable 737 MAX. He and Boeing knew the risks they were taking but

preferred running them to endangering Boeing’s substantial profit margins on the MAX. In

furtherance of the conspiracy’s financial objectives, in December 2018, less than two months after

the Lion Air crash, and at a time that Muilenburg was assuring everyone that the MAX was safe,

Boeing authorized a huge cash dividend to investors—as well as a $13 million bonus for

Muilenburg.

        Instead of ending its Boeing’s conspiracy, Muilenburg initiated an illegal coverup

campaign aimed at professing the safety of the airplane while concealing its problems, pointing

the finger at Lion Air’s pilots and maintenance practices, and pressuring the FAA not to take

corrective action. On November 6, 2018, Boeing issued a preemptive Flight Crew Operations

Manual (“FCOM”) Bulletin vaguely referencing “an AOA failure condition” and uncommanded

“nose down stabilizer trim movement.” The following day, the FAA issued an Emergency

Airworthiness Directive (“AD”), identifying the potential danger presented by the flight control

system, but not providing clear instruction on what pilots should do in the event of an AOA failure.

In response, Muilenburg emailed Boeing employees, warning the mandate might harm




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productivity: “[w]e need to be careful that the [airplane flight manual] doesn’t turn into a

compliance item that restricts near-term deliveries.”

       Both the FCOM Bulletin omitted the MCAS and the role it played in the Lion Air crash.

The AD from the FAA was also deficient—due to Boeing’s conspiracy. The AD failed to mention

important information known to Boeing that the control column cutout function was disabled when

MCAS was operational, that MCAS is only active in flaps up manual flight, that MCAS would

reactive within 5 seconds of pilot trim input, or that a pilot would have less than 10 seconds to

follow the runaway stabilizer procedure to avoid a catastrophic risk to the airplane.

       On November 7, 2018, Boeing issued an official statement on the Operations Manual

Bulletin, in which it again referenced “existing flight crew procedures” for pilots to address

circumstances where there is “erroneous input from an AOA sensor.” This press release did not

reference MCAS or the inoperable AOA disagree alert.

       Boeing’s CEO Muilenburg himself continued to be in direct control over the concealment

conspiracy. On November 13, 2018, the Wall Street Journal published an article criticizing Boeing

for adding new “flight-control systems” on the 737 MAX which were not disclosed in training

materials. That day, Muilenburg wrote to the Boeing Board, claiming that the article was

“categorically false.” In an internal message sent to Boeing employees in November 2018,

Muilenburg stated: “The relevant function is described in the Flight Crew Operations Manual and

we routinely engage with our customers about how to operate our airplanes safely.” The claim that

MCAS’ “relevant function” was already described in the FCOM is false. Several years later,

Boeing finally admitted in the Deferred Prosecution Agreement that the flight manuals were

“materially false, inaccurate, and incomplete.”




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       On about November 13, 2018, Muilenburg was interviewed on Fox Business Network.

Muilenburg claimed that “the airplane is safe, we know how to fly it safely, and we’re very

confident in that.” These statements (and other like them) were materially false. Muilenburg

concealed that Boeing knew MCAS was vulnerable to failure and that pilots were not informed

about MCAS.

       On about November 28, 2018, Boeing issued a statement in response to the release of the

Lion Air Flight 610 Preliminary Report. In the statement, Boeing asserted that passengers “have

our assurance that the 737 MAX is as safe as any airplane that has ever flown the skies.” Notably

absent from Boeing’s press release is any reference to MCAS or explanation on how exactly the

system failed. Boeing and Muilenburg were well aware at that time that Boeing’s internal Safety

Review Board had identified an ongoing “airplane safety issue” associated with MCAS and that a

needed redesign was planned. The National Transportation Safety Board even contacted Boeing

to complain that the statement was misleading. But Boeing failed and refused to correct its

statement, recognizing that being truthful would reduce profits.

       Later, the Securities and Exchange Commission would find that Boeing’s statements—in

particular the statement that “the 737 MAX is as safe as any airplane that has ever flown the

skies”—was misleading under the circumstances, absent any discussion of an “airplane safety

issue” that CEO Muilenburg was aware had been found and was undergoing remediation by

redesigning the MCAS software. On November 28, 2018, one day after the press release was

issued, Boeing’s stock closed up 4.8% at $333.5 per share.

       D. Boeing’s Coverup Continued Through a Board of Directors Meeting.

       In the wake of the Lion Air Crash, the DOJ began an investigation into the 737 MAX

certification process. In January 2019, while collecting documents in connection with the DOJ’s


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investigation, members of Boeing’s Legal Department uncovered communications that raised

questions about the disclosures made to the FAA concerning the differences training and manuals

certification, including (as the Court is aware) the November 15, 2016 Chat in which Forkner

wrote that he had “lied to regulators (unknowingly)” about MCAS. In or around January 2019,

Boeing’s in-house counsel informed Muilenburg and other senior executives about the existence

of the November 15, 2016 Chat. Following that communication, Muilenburg understood the

November 15, 2016 Chat to be “concerning.” This knowledge should have prevented Muilenburg

from approving the November 27, 2018 press release falsely claiming that no safety (e.g., MCAS)

issues existed, Muilenburg knowingly moved forward with the misrepresentation.

       The November 15, 2016, Chat—like the documentation issues highlighted in the MCAS

Certification Compliance Review report—raised significant questions concerning the adequacy of

Boeing’s disclosures about MCAS in connection with the FAA’s review and approval of pilot

training requirements and flight manuals for the 737 MAX, including the omission of MCAS from

the differences training and the flight manuals. And yet, rather than take the lawfully required

actions, Boeing continued its coverup.

       Senator Ted Cruz has taken a leading role in exposing Boeing’s criminal behavior. During

investigative hearing on the two crashes, Senator Cruz exposed what Boeing had done through

pointed questions to CEO Muilenburg:

               The testimony here today has been quite dismaying. I want to focus on the
       text exchange that has been referred to and has been publicly reported on. There
       was a text exchange between Mark Forkner, who was then Boeing’s technical
       pilot for the MAX—chief technical pilot for the MAX—and Mr. Gustavsson, who
       in 2018 was promoted to be Boeing's 737 chief technical pilot."

                   Mr. Forkner: [...] MCAS is now active down to M .2. It's running
           rampant in the sim on me
                   Mr. Gustavsson: Oh great, that means we have to update the
           speed trim description in vol 2
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                     Mr. Forkner: so I basically lied to the regulators (unknowingly)
            [...] granted, I suck at flying, but even this was egregious/

               That exchange describes what happened in Lion Air and Ethiopian Air.
       The men and women who are gathered here with the photos of your loved ones—
       346 people are dead because [of] what these chief pilots described as ‘egregious'
       and ‘crazy' - that's their language. That’s Boeing's internal language in this
       exchange.
               Now what I find truly stunning—Boeing handed this exchange over to the
       Department of Justice in February. In March, I chaired a hearing of the aviation
       subcommittee on these two crashes. Boeing did not see fit to give this committee
       that exchange. Nor did Boeing give it to the FAA or the Department of
       Transportation.

       After Muilenburg said he had not been made aware of these documents until a few weeks
ago, Sen. Cruz continued:

               You’re the CEO—the buck stops with you. Did you read this document?
       And how did your team not put it in front of you? Run in with their hair on fire
       saying ‘We've got a real problem here?’ How did that not happen? And what does
       that say about the culture at Boeing if they didn’t give it to you? And you didn’t
       read it? And if you didn’t say ‘I want to read and see what happened?' Your
       testimony here earlier today is 'Well, we're not sure what they were talking about
       because he's not at Boeing anymore.' How did you not in February set out a nine
       alarm fire to say ‘We need to figure out exactly what happened, not after all the
       hearings, not after the pressure, but because 346 people have died and we don’t
       want another person to die?’

Senate Commerce Hearing on 737 MAX Crashes (Oct. 29, 2019).

       E. Boeing’s Lies Led to the Ethiopian Airlines Crash.

       On March 10, 2019, Ethiopian Airlines Flight 302 crashed shortly after takeoff from Addis

 Ababa Bole International Airport, killing all 157 passengers and crew on board. Boeing’s hidden

 MCAS system was—again—responsible.

       Shockingly, according to a very recently completed final accident investigation report on

the Ethiopian Airlines crash, Ethiopian Airlines pilots had contacted Boeing before the crash with

questions about the MCAS system. However, rather than answer those questions, Boeing declined

to respond, implausibly claiming that they were unable to provide information about MCAS due


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to the on-going Lion Air crash investigation.9 As Boeing well knew, accident investigations do not

preclude releasing safety-related information. The real reason that Boeing declined to answer the

questions about MCAS is that truthful answers would have revealed that additional pilot training

was required for pilots transitioning to the 737 MAX.

       After the ET302 crash, Muilenburg continued to knowingly and deliberately conceal what

he and Boeing knew about MCAS, its needed redesign, and the problems with disclosures to the

FAA about pilot training requirements and flight manuals. Remarkably, on April 28, 2019, he told

investors in an earnings call that “[t]here is no technical slip or gap here .… We know that both

accidents were a series of events…. In this case, there was erroneous angle of attack information

that came into the airplane for multiple causes. But I can tell you with the confidence that we

understood our airplane, we understood how the design was accomplished, how the certification

was accomplished, and remain fully confident in the product that we put into the field. But there

was no surprise or gap or unknown here or something that somehow slipped through the

certification process. Quite the opposite.”

       Again, on April 29, 2019, during a press conference following Boeing’s annual

shareholders meeting, Muilenburg redoubled his lies. He said “we have gone back and confirmed

again …. That we follow exactly the steps in our design and certification process is that

consistently produce safe airplanes. It was designed for our standards. It was designed for our

standards.”

       The SEC later found both statements were misleading given the CEOs direct and personal

knowledge to the contrary.


       9
        See Fed. Democratic Republic of Ethiopia, Ministry of Transport and Logistics, Aircraft
Accident Investigation Bureau, Investigation Report on Accident to the B737-MAX8 ET-AVJ
Operated by Ethiopian Airlines at 289 (Dec. 23, 2022), attached as Exhibit 1 to this filing.
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       F. Conclusions About Boeing’s Criminal Conduct.

       The above-recounted facts are just a part of the evidence of Boeing’s criminal concealment

of safety issues related to the 737 MAX. Through its criminal conspiracy, Boeing knowingly risked

people’s lives—and ultimately killed hundreds of people—merely for an improved bottom line

and corporate enrichment. Boeing knew that the 737 MAX was defective from the start. It then

made an already dangerous airplane even more deadly when it added the recklessly conceived

MCAS. Boeing criminally conspired to conceal these known dangers from the FAA throughout

the cnspiracy to obtain regulatory approval through a rigged self-certification process. Lion Air

Flight JT 610 crashed as a direct and proximate result—killing 189 people.

       The airplane’s flaws and deadly consequences were undeniable after Lion Air Flight JT

610 crashed—and the FAA’s own analysis in December 2018 found the MCAS design flaw, if left

uncorrected, would result in an additional approximately 15 fatal crashes over the life of the fleet—

yet Boeing still fought any effort to ground the airplane. Instead, Boeing engaged in a criminal

cover-up and conspired to convince the FAA to keep the airplanes flying across the globe, without

additional pilot training or safety precautions. Boeing intentionally and criminally chose to expose

flight crews and passengers to the known risks of another catastrophic accident and, predictably, a

further 157 lives were lost in the Ethiopian Airlines Flight 302 disaster as a direct result.

       In light of this past criminal conduct—and risk of future similar conduct—this Court should

impose stringent conditions of release on Boeing, pursuant to its authority under 18 U.S.C. § 3142.

        III.   The Court Should Impose Independent Monitoring of and Greater
               Transparency to Boeing’s DPA Compliance Efforts.

       The crime before this Court is “a long-running conspiracy that directly led to some of the

worst air travel disasters of the 21st century.” Amicus Brief of Sen. Ted Cruz, ECF No. 78 at 6.

The parties have reached their DPA—although they did so illegally, in violation of the CVRA. The
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issue of what remedy the Court should adopt to enforce the CVRA is the subject of separate

briefing.

       But the scheduled arraignment now results in what is a traditionally judicial function: the

Court’s selection of appropriate conditions of release. In adopting 18 U.S.C. § 3142, Congress has

codified that judicial role. Under the statute, the Court first decides whether release on a personal

recognizance bond will endanger the safety of the community. 18 U.S.C. § 3142(b). It would seem

to go without saying that, in the deadliest corporate crime in U.S. history, something more than the

minimum is required. Thus, under 18 U.S.C. § 3142(c), the Court must make its own, independent

determination regarding the “least restrictive further conditions, or combination of conditions, that

such judicial officer [i.e., in this case, the district judge] determines will reasonably assure … the

safety of any other person [than the defendant] and the community.” 18 U.S.C. § 3142(c)(1)(B).

The conditions that the judiciary can deploy include, generally, “any other” condition of release

“reasonably necessary … to assure … the safety of any other person and the community.” 18

U.S.C. § 3142(c)(1)(B)(xiv).

       As this Court has previously found, Boeing’s criminal conspiracy directly and proximately

killed 346 people. Many of the representatives for those victims have filed impact statements with

the Court. Other representatives will deliver their victim impact statements in-court following the

arraignment. Those statements begin to reveal the full and tragic sweep of the harm from Boeing’s

crime. At the arraignment, after hearing from the representatives, the Court must then make its

own, independent determination of what conditions will “reasonably assure” community safety.

Those conditions must consider the stark reality that Boeing’s future conduct—and particularly

any future criminal conduct—could potentially kill literally hundreds of people in a catastrophic

crash. And any systemic failure across an aircraft type (such as the 737 MAX) could have

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undeniably devastating consequences. For example, according to Boeing’s website, today more

than 10,000 commercial Boeing jetliners fly in service globally. Boeing Current Products &

Services (January 22, 2003), https://www.boeing.com/commercial/. Ensuring the safety of the

community flying on Boeing planes must be regarded as a highest priority. Cf. Memorandum from

Paul J. McNulty, Deputy Att’y Gen., to Heads of Dep’t Components & United States Att’ys 2 (Dec.

12, 2006) (stating that “certain crimes that carry with them a substantial risk of great public harm

. . . are by their nature most likely to be committed by businesses”).

       To ensure the safety of “the community”—and specifically the flying public—during the

remaining term of the DPA, the victims’ representatives ask this Court to impose the following

three conditions of release on Boeing, pursuant to the Court’s authority under 18 U.S.C. § 3142:

       No New Crimes

               1. Boeing shall not commit a Federal, State, or local crime during the period
       of release.

       Appointment of an Independent Corporate Monitor

               2. Boeing will cooperate with a court-selected monitor (i.e., a corporate
       monitor) to determine whether Boeing is in compliance with its DPA obligations.
       The Court will select the monitor from a list of names of candidates (and their
       qualifications) provided within ten days after the Court imposes this condition by
       the Department, Boeing, and any victims’ representatives. The monitor shall
       operate independently and must disclose any potential conflicts of interest. The
       parties (i.e., the Department, Boeing, and victims’ representatives) shall meet-and-
       confer before submitting their respective lists in an effort to identify mutually
       agreeable candidates. The Court may require the parties to submit additional
       candidates. Boeing shall pay reasonable expenses of the monitor. The monitor is
       authorized to obtain any necessary assistance, including hiring consultants, experts,
       and others.
               The monitor shall have reasonable access to Boeing’s books and records
       connected with DPA compliance, as determined by the monitor. The monitor shall
       maintain the confidentiality of any non-public business and financial information,
       but shall prepare a report indicating the substance of the monitor’s conclusions. The
       monitor may undertake any other actions that are necessary to discharge his or her
       monitoring duties.

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              The monitor shall issue a report to the Court regarding Boeing’s compliance
       with the terms of the DPA on or before December 6, 2023—i.e., one month before
       the conclusion of the DPA. The report shall indicate the monitor’s conclusions
       regarding Boeing’s compliance with the DPA. The report shall also address any
       additional measures that the Court should impose—or that Boeing should follow—
       to reduce the risks to the public from Boeing’s past or potential future criminal
       misconduct, including evaluating Boeing’s internal controls and corporate ethics
       and compliance programs. The monitor’s report will quickly be made public to the
       maximum extent possible, with limited redactions only as required to safeguard
       legitimately confidential material. The Court may consider the full monitors’ report
       in connection with any proceedings in this case.

       Transparency in Boeing’s Corporate Compliance Reforms

               3. The substance of Boeing’s efforts to comply with its DPA obligations
       shall be provided to victims’ representatives experts and the general public as
       follows:
               Within thirty days, Boeing shall disclose the substance of its DPA
       compliance efforts to three experts selected by the victims’ families’
       representatives, with the approval of the Court. Boeing and the Government may
       provide to the Court their assessment of the expert’s qualifications and suitability
       for the role. The Government shall review Boeing’s disclosures for accuracy. At
       this time, the representatives anticipate that they will provide the reports to: (1)
       Vickie Norton; (2) Rune Storesund; and (3) Javier de Luis.10 Boeing’s disclosure
       will be provided to the experts under an appropriate confidentiality order, to be
       drafted by the parties and approved by the Court. The experts will then review the
       materials and provide recommendations to the Court, the Department, and Boeing
       as may be useful for promoting safety and corporate compliance. Boeing will pay
       all reasonable expenses of the three experts.
               The substance of Boeing’s disclosure will be reviewed by the three experts
       above, who will prepare appropriate redacted copies of the disclosure (or
       summaries thereof) to be released to the public. The proposed redactions will be
       shared with the Department and Boeing. Any disputes about redactions will then be
       resolved by the Court. After the Court’s approval, appropriately redacted reports
       will be released to the victims’ representatives and the general public. The expert’s
       recommendations will similarly be provided to the public, with necessary
       redactions to protect confidentiality.




       10
           Mr. de Luis is a lecturer in aeronautics at the Massachusetts Institute of Technology. He
is one of the family representatives who is filing this motion, as his sister, Graziella de Luis Ponce,
as killed in the Ethiopian Flight 302 crash. Earlier this month, the FAA appointed Mr. de Luis to
an FAA safety panel examining safety practices at Boeing.
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       The Court clearly has authority to impose each of these three conditions under 18 U.S.C.

§ 3142, which includes a long list of permissible conditions—including 18 U.S.C. §

3142(c)(1)(B)(xiv) (court may require a defendant to “satisfy any other condition that is reasonably

necessary … to assure the safety of any other person and the community”). Moreover, that list of

conditions is “non-exhaustive.” United States v. Aziz, No. 21-40878, 2022 WL 1056102, at *3 (5th

Cir. 2022). Indeed, it is common “for courts to impose conditions of pretrial release that attempt

to prevent or reduce the risk that the defendant will engage in similar or related criminal activities

to those charged in the complaint or indictment.” United States v. Call, 874 F. Supp. 2d 969, 979

(D. Nev. 2012).

       Each of the three conditions is justified for the following reasons.

       A.      The Court Should Impose the Standard Condition of Release that Boeing
               Shall Commit No New Crimes.

       The no-new-crimes requirement is required by federal law, as the victims’ representatives

explained in their filings on the arraignment issue. See ECF No. 66 at 8 (citing 18 U.S.C. §

3142(c)). The parties do not contend otherwise. Accordingly, the court should impose this

condition.

       B.      The Court Should Impose a Condition of Release that Boeing’s Safety and
               Ethics Practices Will Be Subject to a Judicial Monitor.

       The Court should appoint an independent corporate monitor to evaluate Boeing’s DPA

compliance. Only an independent monitor—the proverbial second set of eyes—can begin to

restore confidence in Boeing and ensure safety of the community.

       In its DPA, Boeing itself undertook to conduct “appropriate reviews of its existing internal

controls, policies, and procedures” to ensure compliance with federal criminal laws, including

compliance during its interactions with the FAA, other regulatory authorities, and its airline


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customers. DPA at Attachment C, ECF No. 4 at C-1. Boeing then goes on to promise that it will

take various steps that “will create and foster a culture of ethics and compliance with the law in its

day-to-day operations.” Id.

       As the Court will immediately understand, the victims’ representatives are skeptical of

Boeing’s promises—promises obviously designed to help it secure lenient treatment from federal

prosecutors for its deadly criminal conspiracy. The victims’ representatives wonder why the lives

of their 346 loved ones had to be sacrificed before Boeing would agree to follow the law.

       As part of Boeing now creating its “culture of ethics,” the DPA requires Boeing to file

quarterly reports on its efforts with the Justice Department. See DPA at Attachment D, ECF No. 4

at D-1 et seq. But, for the victims’ families, this is not true oversight. The Department and Boeing

worked together secretly—and in violation of the CVRA—to concoct one of the worst DPAs in

our nation’s history. The victims’ representatives—and, no doubt, many members of the public—

doubt whether the Department can be trusted to hold Boeing to its promises. Now that the DPA

has been so heavily criticized—and, indeed, found to be illegally negotiated—no doubt the

Department has a strong incentive to pretend that the agreement is working well.

       This arraignment hearing is itself evidence of this accountability problem. If the

Department and Boeing intended transparency, they would have structured their DPA to provide

for an immediate arraignment of Boeing—something that Fed. R. Crim. P. 10’s text plainly

requires. See ECF No. 162 at 4 (“A plain reading of Rule 10’s unconditional language supports a

mandatory arraignment.”). Instead, they contrived to avoid an arraignment—thereby delaying for

two years the opportunity for the victims’ representatives to see Boeing stand in the dock. And that

violation of the rules comes on top of the Department’s and Boeing’s previous egregious violation

of the CVRA (ECF No. 116 at 18 (granting motion for finding violation of the CVRA)—and the

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Department’s concealment of its long-running criminal investigation from the representatives (id.

at 5 (describing false statements by the Department to the victims’ representatives)).

        The DPA requires Boeing to take steps to “create and foster a culture of ethics.” But the

judge of whether Boeing is successful in creating that culture is the Justice Department—Boeing’s

negotiating partner in the illegal DPA. The accountability problem with the DPA is well-described

by Senator Ted Cruz in his amicus brief in this case. See ECF No. 78. Senator Cruz explained that

“[m]aybe the[DPA] compliance program will be good; maybe it won’t, but what is certain is that

all the important decisions will be made behind closed doors, away from public accountability.”

Id. at 8 (emphasis added).

        Simply put, given the troubling circumstances of this case, the Justice Department cannot

be trusted to monitor Boeing—or, at the very least, cannot secretly monitor Boeing in a way that

brings public confidence to the outcome. An independent assessment of Boeing’s DPA compliance

is required.

        To be clear, in this arraignment-and-release proceeding, the victims’ representatives are not

asking this Court to rework the DPA. Instead, the representatives seek appropriate conditions of

release imposed by the Court in the discharge of its duties under § 3142. And, of course, the Court

is exercising its duties in the context of a truly extraordinary case—a case involving an illegal DPA

crafted secretly for a defendant who killed 346 people. This case is—truly—unprecedented.

        To the extent that the Court is looking for precedents for the conditions that the victims’

representatives propose, independent corporate monitors have a long history in connection with

deferred prosecution agreements, dating back to the landmark 1994 Prudential Securities case. See

Vikramaditya Khanna & Timothy L. Dickson, The Corporate Monitor: The New Corporate Czar?,

105 MICH. L. REV. 1713, 1717 n.17 (2007) (citing SEC v. Prudential Sec., Inc., No. 93 Civ. 2164,

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1993 WL 473189, at *2-3 (D.D.C. Oct. 21, 1993)). The federal sentencing guidelines allow for

appointment of special masters and corporate monitors as part of court-ordered probation. See U.S.

SENTENCING GUIDELINES MANUAL § 8D1.1. In addition, such probation can be more actively

monitored if “special conditions” are imposed to ensure “changes are made within the organization

to reduce the likelihood of future criminal conduct.” U.S.S.G. § 8C2.5(g)(3).

          Monitoring is particularly important in a corporate criminal context. After all, corporations

such as Boeing cannot literally be jailed. Fines may be borne by shareholders or passed on through

price increases to consumers, without affecting the officers or employees involved in the crimes.

Corporate monitoring is one effort to ensure corporations subjected to criminal penalties follow

the law. See Brandon L. Garrett, Globalized Corporate Prosecutions, 97 VA. L. REV. 1775, 17777

(2011).

          It is common for DPAs to be enforced through a monitor. While calculations about the

frequency of monitors may vary, one article reports that “about half of DPAs make a provision for

a corporate monitor.” See Comment, Judicial Review of Corporate Non-Prosecution and Deferred

Prosecution Agreements: A Narrow Path to Checking Prosecutorial Discretion, 3 CORP. & BUS.

L.J. 212, 220 (2022). Another scholarly effort, using a different data set, reports that about 25% of

federal prosecution agreements (deferred prosecution agreements and non-prosecution

agreements) employed monitors. BRANDON L. GARRETT, TOO BIG TO JAIL: HOW PROSECUTORS

COMPROMISE WITH CORPORATIONS 15 (Harv. Univ. Press 2014). Presumably those DPAs without

monitors did not involve criminal conduct resulting in 346 deaths. Independent corporate monitors

have also been used within this District. See, e.g., United States v. ZTE Corp., No. 3:17-CR-0120-

K (N.D. Tex. Mar. 7, 2017) (plea agreement requiring appointment of “an independent, third-party




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compliance monitor” to monitor the defendant corporation’s compliance with U.S. Export Control

Laws (emphasis added)).

       In cases involving monitors, a subsequent issue is whether a monitor’s report should be

made public. The best-informed view is that, subject to appropriate redactions, monitors reports

should be made public. See, e.g., Brandon L. Garrett, The Public Interest in Corporate Settlements,

58 B.C. L. REV. 1483, 1529-30 (2017) (“[T]he reports of monitors should be made public, so

affected parties have enough information to know whether to intervene if compliance is lacking”);

see also Veronica Root Martinez, Public Reporting of Monitorship Outcomes, 136 HARV. L. REV.

757, 765-66 (2023) (“at the conclusion of all monitorships, the public should receive an accounting

that details whether the firm has or has not engaged in a successful remediation effort.”). To

facilitate public disclosure, in 2015 the American Bar Association adopted standards on the subject

of corporate monitors. While those standards take no position on whether monitor reports should

or should not be made public, they set out a process for making a monitor’s report public:

       If a written report may be publicly disclosed or provided to third parties, the
       Monitor should consult with the Government and Host Organization, or if
       appointed by a court, the court, for purposes of protecting against the disclosure of
       sensitive or disparaging information concerning individuals who may be named in
       the report, and the disclosure of proprietary, confidential, or competitive business
       information.

ABA      Standards     for     Criminal     Justice:    Monitors      (August     2015),     at    12,

http://www.americanbar.org/content/dam/aba/images/abanews/2015annualresolutions/108a.pdf.

The ABA Standards provide that the relevant court order “should state whether the Monitor’s

report is to be confidential or whether it is to be made available to the public, in part or in whole.”

Id.

       Public transparency in a case like this is particularly important. Perhaps the most important

stage of a corporate prosecution is the implementation of the agreement. Corporate prosecutions
                                                  26
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invariably settle, and some of the most significant cases have settled with DPAs. See BRANDON L.

GARRETT, TOO BIG TO JAIL, supra at 62. The role of the monitor in evaluating DPA compliance

uniquely serves the public interest. The Justice Department’s “Morford Memorandum” observes

that the monitor is not an “agent of the corporation or of the Government.” Memorandum from

Craig S. Morford, Acting Deputy Att’y Gen., for Heads of Dep’t Components and U.S. Att’ys

(Mar. 7, 2008), at 4, http://www.justice.gov/dag/morford-useofmonitorsmemo-03072008.pdf. A

properly functioning monitor is thus independent and serves the public interest.

       A type of case where a corporate monitor can be especially useful is one involving “great

harm.” Khanna & Dickson, supra, 105 MICH. L. REV. at 1730. Where a crime has caused

substantial harm, a fine imposed at sentencing might be insufficient to deter a defendant’ from

committing future crimes: “When the highest-imposable cash fine does not generate the desired

level of deterrence, other sanctions, such as corporate monitors, merit consideration. In such

situations, a monitor may be desirable if the net gains of having a monitor are greater than the net

gains of other kinds of sanctions. The net gains are the additional deterrence gains from having a

monitor less the costs of requiring a monitor.” Id. at 1729. The need for additional deterrence can

be particularly important where wrongdoing “causes a great deal of harm because then it is more

likely that the highest imposable cash fine may not suffice for deterrence. Corporate monitors and

other kinds of ongoing supervisors seem more justifiable for wrongdoing that causes a great deal

of harm.” Id.

       This description of the circumstances warranting independent corporate monitoring fits this

case well. The Court is generally aware of the hundreds of deaths Boeing has caused. In addition,

the Court will hear during the release hearing from several victims’ representatives, who will

further explain the enormous destruction from Boeing’s crime. Again, it must never be forgotten

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that this case involves the deadliest corporate crime in U.S. history, so the need to deter a similar

a crime in the future is undeniably vital. On the other hand, the costs associated with a corporate

monitor are very low—a tiny fraction of the cost that might occur if another Boeing commercial

airliner crashes. And the fine in this case is at the low end of the guidelines11 and is incommensurate

with the total costs of Boeing’s crime12—which is, in part, why this DPA has been so widely

criticized.

        Turning to the issue of selecting the independent monitor, in many DPA cases, the Justice

Department makes the selection. In this case, however, the Court should independently make the

selection. The Department has lost the trust of the victims’ representatives—and, we assume, of

the general public—by violating the CVRA and orchestrating an illegal agreement. Allowing the

Department to make the selection of an allegedly “independent” monitor will only compound

suspicion in this case that “the fix is in.” A court-selected monitor (from lists submitted by the

parties) is the only way to respond to that concern and provide public confidence in the process.

This process has been employed in other cases. See, e.g., Deferred Prosecution Agreement at 15,

United States v. Computer Associates International, Inc., Crim. No. 04-837 (ILG) (E.D.N.Y. Sept.

22, 2004) (setting out process for the parties—i.e., the defendant, prosecutors, and the SEC—to

jointly propose three candidates to the court; “The Court shall select the Independent Examiner

from the three approved candidates …. If the Court rejects all three approved candidates, the

procedure … will be repeated until such time as the Court approves an independent examiner”).

Commentators have pointed out that “[j]udges should select monitors, allaying concerns that




        11
           See DPA at ¶ 9, ECF No. 4 at 11. To secure this low-end fine, Boeing represented that it
“clearly demonstrated recognition and affirmative acceptance of responsibility.” Id.
        12
           The fine of $243 million is far below the cost of human life. See ECF No. 65 at 18.
                                                 28
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prosecutors offer these plum positions mostly to former colleagues, by supervising a competition

process ….” BRANDON L. GARRETT, TOO BIG TO JAIL, supra, at 284.

       This case now stands in an unusual posture. The arraignment is occurring about two years

into the three-year period of the DPA. If an arraignment had been held at the outset, the victims’

representatives would have proposed a corporate monitor at that time. This case is further unique

in that it involves a proven violation of the CVRA. If the Government and Boeing had complied

with the CVRA, the victims’ representatives could have proposed a corporate monitor be included

in the DPA before it was finalized and presented to the Court. And—again, and most important—

this case involves a crime resulting in 346 deaths.

       Because of these unusual circumstances, the victims’ representatives propose to capitalize

on the fact that this Court’s determination of release conditions is occurring well into the DPA’s

term. At this point, Boeing’s efforts to create a “culture of ethics” should be almost completed.

Accordingly, the victims’ families propose that an independent corporate monitor enter the case

with a limited purpose: To evaluate Boeing’s compliance with its DPA obligations. The monitor

would evaluate the steps Boeing has taken to meet its DPA commitments and then report back to

the Court—and the public—about the success of those efforts. The report would be due with this

Court one month before the DPA concludes. Accordingly, the Court would be well-positioned to

discharge its duties as the DPA comes up for final review.13

       Unlike many other corporate monitors, the monitor that the victims’ representatives

propose as a release condition will have a very short existence and precisely focused mission. The


       13
          As the Court knows, the victims’ representatives currently have pending a motion to
rescind the DPA’s “immunity” provisions so that Boeing can be criminally prosecuted. But
retrospective criminal prosecution for past crimes and prospective creation of a culture of ethics
are separate issues. Accordingly, the Court should grant both of the victims’ representatives’
requests.
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representatives propose that the monitor complete the review in a limited time—less than eleven

months—at the conclusion of which the monitor would file a publicly available report.

       Finally and most important, the monitor would simply review existing compliance

measures that Boeing has already (supposedly) undertaken as part of its DPA obligations. To be

clear, the victims’ representatives are not asking that the monitor take over Boeing’s safety

processes. Thus, criticisms that are sometimes made that monitors are discharging functions

beyond competence have no salience whatsoever here. The monitor would not impose any new

duties on the company; instead, the monitor would solely evaluate—independently—how the

company has done in fulfilling its promises. This narrow and sensible approach would help restore

public confidence in the processes used in this case—and also assure safety of the public flying on

Boeing aircraft.

       In closing this section, the victims’ representatives reiterate that they are not asking (in this

statement) for the Court to somehow revise or reevaluate the wisdom of the DPA. Instead, the

representatives ask the Court to discharge its independent obligation under § 3142 to assure the

safety of the community. For all the reasons provided in this section, the Court should impose, as

a condition of release, an independent court-selected monitor who will evaluate whether Boeing is

truly creating the “culture of ethics” that it has promised in its DPA.

       C.      The Court Should Impose a Condition of Release that the Substance of
               Boeing’s DPA Compliance Efforts are Made Available to the Victims’
               Representatives’ Experts and, in Properly Redacted Form, to the General
               Public to Assure that the Efforts are Effective.

       As a final condition of release, the Court should require that Boeing produce to the victims’

representatives’ experts—and ultimately to the general public—the substance of its DPA

compliance efforts. This is the only way to assure transparency about how the illegal DPA has been



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enforced over the last two years. And a review of Boeing’s efforts will help to assure that Boeing’s

efforts are fully effective in protecting the public.

        Again, the key problem with the DPA was well-described by Senator Cruz in his amicus

brief, where he explained that “[m]aybe the [DPA] compliance program will be good; maybe it

won’t, but what is certain is that all the important decisions will be made behind closed doors,

away from public accountability.” Id. at 8 (emphasis added). The conclusion of Senator Cruz’s

amicus brief was that this “troubling” DPA should “receive careful judicial attention free from the

presumption—too common in federal criminal law—that ‘the government always wins.’” ECF

No. 78 at 9.

        As the Court is aware, the victims’ representatives currently have pending several briefs

regarding the appropriate remedies that should be available to them to enforce their CVRA rights.

See, e.g., ECF No. 140. But separately in connection with conditions of release, to reasonably

ensure the safety of the community, the Court should respond to the fact, as Senator Cruz precisely

puts it, that “all the important decisions will be made behind closed doors, away from public

accountability.”

        It is important to recall the unique posture of this case. In an ordinary case, some

accountability would exist through the crime victims’ CVRA right to confer with prosecutors

before a DPA is finalized. But here, the Department and Boeing illegally finalized the DPA without

following that CVRA safeguard. They then presented their DPA to this Court as a fait accompli.

        These extraordinary circumstances (which hopefully will never be repeated) require a

considered and heightened response. An illegal process for creating a DPA cannot guarantee public

safety. Indeed, by definition, the DPA that the parties have presented to the Court pays insufficient

attention to public safety. The Court will recall that for more than a year now, both the Department

                                                   31
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and Boeing have insisted that Boeing’s conspiracy did not directly and proximately result in the

deaths of 346 people. The Court has ruled otherwise. So, by definition, the DPA was crafted by

parties who did not fully appreciate the deadly consequences of Boeing’s crime. The Court must

consider that fact in determining conditions of release to assure public safety.

       In addition to appointing an independent monitor, a direct way to ensure public

accountability is to require, as a condition of release under 18 U.S.C. § 3142(c)(1)(B), that Boeing

provide the substance of its efforts regarding corporate compliance to the victims’ representatives’

experts—and, ultimately (after appropriate redactions), to the general public. Boeing’s efforts can

then be critiqued and any defects remedied.

       Boeing has purportedly reformed it corporate culture to a “culture of ethics” that is no

longer a threat to public safety. But the victims’ representatives—and the public—cannot know

whether this is true without seeing the substance of those efforts. Former President Reagan’s

dictum is applicable here: Trust but verify. This Court should not blindly accept sanguine

assurances from the parties—the Department and Boeing. Too many lives are at stake. Indeed, the

need for verification is particularly high, because the Department is concealing information from

this Court about the full extent of Boeing’s crime. See Part IV, below.

       Of course, it is always possible that Boeing and the Department have overlooked something

in secretly working together on these compliance issues. Indeed, the possibility that victims’

interests have been ignored seems particularly high, given the way in which the parties illegally

crafted the DPA without any victim input.

       Neither Boeing nor the Government can reasonably object to providing the substance of

Boeing’s compliance efforts to the victims’ representatives’ experts and ultimately the public. This

Court has the power to impose conditions that “will reasonably assure . . . the safety of any other

                                                 32
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person and the community.” 18 U.S.C § 3142(c)(1)(B). Greater review of those efforts will help

to assure the safety of the community, by guaranteeing that Boeing’s reform efforts are carefully

and publicly scrutinized—and any deficiencies corrected.

       To be sure, the DPA before the Court contains a confidential reporting process to transmit

reports to the Justice Department confidentiality. See DPA, ECF No. 4, Attachment D. But the fact

that certain reports are themselves confidential does not transmute Boeing’s underlying efforts into

confidential material. For example, under the Bank Secrecy Act, banks are required to make

confidential reports of suspicious activities to regulators. But while those reports are confidential,

the underlying activities are not. See, e.g., In re Peregrine Financial Group Customer Litigation,

2015 WL 1344466, at *13 (N.D. Ill. Mar. 20, 2015).

       And the victims’ representatives propose a process that will protect any legitimate

confidentiality interest of Boeing. Boeing’s efforts will first be disclosed under a confidentiality

agreement to the representatives’ experts, who will then propose redactions to address any

legitimate confidentiality concerns. Thereafter, the Department and Boeing can propose any such

additional redactions as they believe might be necessary. Finally, the Court will rule and disclose

the appropriately redacted materials to the public.

       This approach will bring accountability and transparency to the process, with the result that

Boeing’s (purported) efforts to reform its corporate compliance processes will be more likely to

succeed and assure the safety of the flying public. A recent comprehensive article on monitors

pointed out that “[a] primary criticism levied against the use of monitorships has been concerns

about potential capture—capture of the monitor herself or capture of the entity or entities also

engaged in the monitoring relationship (for example, the government or court)—by the monitored

organization. Increased transparency and disclosure are often the responses to concerns about

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capture. Requiring a public report that provides high-level details regarding the results of the

monitorship process may help to curb these concerns.” Veronica Root Martinez, Public Reporting

of Monitorship Outcomes, 136 HARV. L. REV. 757, 821-22 (2023). Here, of course, the problem of

“capture” described above are compounded by the fact that Boeing is not reporting to a

disinterested monitor, but to the Justice Department. Even assuming good faith, the Department

does not have any strong incentive to find that its (widely criticized) DPA is failing to work

properly. Some additional measure of public transparency is indispensable.

       Moreover, the core of the problem is that the Department has not explained how it will

determine if Boeing is “successful.” This is a broader problem in DPAs. As a book-length review

of the Department’s DPAs and NPAs has concluded, the Justice Department “has adopted no

guidance on what compliance to require or how to ensure it is effective.” BRANDON L. GARRETT,

TOO BIG TO JAIL, supra, at 284. But whatever may be the case for the Department’s internal review

of DPA compliance, this Court cannot out-source its own, independent judicial obligation to

determine that conditions are in place on Boeing that “reasonable assure” the safety of the

community. 18 U.S.C. § 3142(c). The public process that the victims’ representatives propose will

provide that assurance.

       IV.     The Court Should Ask the Government to Disclose Its Information Relevant
               to Conditions of Release.

       In determining conditions of release in this case, this Court needs to be aware the Justice

Department is withholding evidence relevant to the Court’s determination. Specifically, the Justice

Department has not made available to the Court (or its Pretrial Services Office) relevant

information about Boeing’s conspiracy and related criminal conduct. In response, this Court should

ask the Department during the release hearing to disclose this information. The Court should also



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give less deference to the Department than it would in proceedings where the Department has

made more fulsome disclosures.

       On January 22, 2023, during a telephone conference call with the prosecutors handling this

case from the Department’s Fraud Section, the victims’ representatives legal counsel specifically

asked the Department whether it would be providing to the Court the Department’s information

relevant to release issues. Victims’ counsel explained that, in a release hearing, it is important for

the Court to have all pertinent information that the Government knows in determining appropriate

conditions of release. Victims’ counsel indicated that, in this case, a duty of candor to the Court

should compel the Department to disclose information in the Department’s possession that is

relevant to the Court’s decision on conditions of release. Cf. ECF No. 72 (victims’ representatives

brief discussing Government obligations of disclosure in a CVRA hearing); ECF No. 75 (same).

       In response, the Fraud Section’s representative directly stated that the Section was not

going to provide that information—unless the Court specifically asked for it.14 The Fraud Section

doubled down on that position in a conference call with victims’ representatives on January 24,

indicating that was not going to provide information about Boeing beyond that in the DPA.




       14
          In the victims’ representatives’ discussions with the Department, the Department also
claimed that all the facts surrounding the crashes have already come to light through the DPA and
through the criminal case of United States v. Forkner, 4:21-cr-00268-O (N.D. Tex. 2021). These
two claims are disingenuous.
        The DPA is a carefully curated set of facts—seemingly written by Boeing’s lawyers—to
place Boeing in the best possible light. This brief provide a more fulsome set of facts, which
demonstrate that the DPA barely scratches the surface in describing Boeing’s criminal conspiracy.
        And with regard to the Forkner case, the Department filed a superseding indictment on the
eve of trial and then urged this Court to “reject [Forkner’s] attempts to imbue the trial with a
sideshow about plane crashes” and urged that the “[t]he crashes … are simply irrelevant to that
charged conduct.” ECF No. 143 at 3. Clearly the Forkner trial shed little light on the issues
surrounding culpability for the crashes—a critical issue in determining appropriate conditions of
release.
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       Given the Department’s refusal to provide relevant information unless specifically asked,

the victims’ representatives ask the Court to specifically ask the Department for a summary of the

pertinent and material information regarding the appropriate conditions of Boeing’s release,

including information about the dangerousness of Boeing’s conspiracy and related criminal

conduct. As part of that inquiry, the Court should also ask the Department specifically which (if

any) of the above-recited facts the Department disputes and the specific factual basis for any

dispute.

       Inquiries to the Department about Boeing’s crimes and dangerousness are particularly

important because it appears that the Court will not have before it a report from its Probation and

Pretrial Services Office. According to the Court’s website, in an ordinary criminal case, during the

pretrial phase, a Pretrial Services Officer “will gather information about the defendant through

interviews and record checks. The pretrial services officer reports the information to the judge, so

the judge can decide whether the defendant can be released on pretrial supervision or should be

detained.” Pretrial Overview, U.S. Probation and Pretrial Services, Northern District of Texas,

https://www.txnp.uscourts.gov/content/pretrial-overview. In an ordinary case, as this Court is well

aware, the Department communicates to the Pre-Trial Services Office relevant parts of its

investigation that bear on pre-trial release issues. Once again, Boeing appears to have weaseled

out of processes that apply to other accused felons who appear before this Court.

       To be clear, the victims’ representatives are not criticizing that Office in any way. And the

victims’ representatives recognizes that the Pretrial Services Office is busy with multiple other

cases. But the fact remains that this Court does not have the normal information that it would

typically receive through that process in determining release conditions for Boeing—including




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information from crime victims.15 The absence of that information makes it all the more important

that the Department disclose to the Court the pertinent information that it possesses bearing on

pretrial release issues, so that the conditions the Court selects are responsive to Boeing’s

dangerousness.

       V.      The Court Should Ask Boeing Which Facts in the Victims’ Families Proffer
               Are Disputed and What the Specific Factual Basis is for Any Dispute.

       In addition to asking the Department which facts it disputes, the Court should make a

similar inquiry to Boeing. The victims’ representatives do not believe that Boeing can provide

persuasive evidence to reasonably dispute the facts recounted in Part II, above.

       In the context of a release hearing, ordinarily such inquiries to a criminal defendant might

involve issues regarding whether the defendant is, in fact, guilty. But here, we assume Boeing will

accept responsibility (as it has promised in the DPA) and plead guilty at its arraignment. In its

DPA, Boeing has already admitted it is guilty of conspiring to interfere with the FAA. See DPA at

¶ 2, ECF No. 4 (“The Company admits, accepts, and acknowledges that it is responsible under

United States law for the acts of its officers, directors, employees, and agents as charged in the

Information, and as set forth in the Statement of Facts, and that the allegations described in the

Information and the facts described in the Statement of Facts are true and accurate.”). In its DPA,

Boeing also promised that it never make any public statement contradicting its acceptance of

responsibility. DPA at ¶ 32 (“The Company expressly agrees that it shall not, through present or

future attorneys, officers, directors, employees, agents, or any other person authorized to speak for


       15
           Typically, a Pretrial Services Report will include information from the Government’s
files, which will in turn recount relevant victim information. Here, many of the victims’
representatives have attempted to provide information to the Court. But they have been hampered
in doing so by the Government’s failure to reasonably confer with them. See ECF No. 130
(representatives’ motion for finding that the Government violated the CVRA by failing to confer
before filing its remedies brief).
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the Company make any public statement, in litigation or otherwise, contradicting the acceptance

of responsibility by the Company set forth above or the facts described in the attached Statement

of Facts.”). Indeed, Boeing actually monetized its acceptance of responsibility, by receiving a two-

level reduction from the Sentencing Guideline calculations for that acceptance of responsibility—

a credit worth millions and millions of dollars. See DPA, ECF No. 4 at 11 (fine calculation based

on two-level reduction for Boeing’s “acceptance of responsibility for its criminal conduct”).

        Nor would such inquiries from the Court to Boeing create Fifth Amendment issues of self-

incrimination. Corporate entities (such as Boeing) lack any Fifth Amendment rights. See United

States v. Coppola, 788 F.2d 303, 308 (5th Cir. 1986) (“the corporation itself has no fifth amendment

privilege”); Curtis v. M&S Petroleum, Inc., 174 F.3d 661, 674 (5th Cir. 1999) (noting that the

corporate does not have the benefits of a Fifth Amendment privilege). Because the Court can probe

a corporate defendant regarding its criminal behavior—and whether it truly accepts responsibility

for its criminal behavior16—it would be useful for the Court to probe the extent (if any) of Boeing’s

dispute of the facts above.

                                            Conclusion

        This Court has previously apologized to the victims’ families for not making more inquiries

into the DPA’s victim implications. See Trans. (May 3, 2022) at 136. The victims’ representatives

very much appreciated that gesture—and the Court’s thoroughness in reviewing issues brought

before it.

        But the victims’ representatives do not blame the Court for the fact that Boeing has skated

through this process—without the standard procedures being followed. The victims’


        16
           Typically this probing would be through the Court’s Pretrial Services Office, sometimes
in connection with a pre-sentence report. See, e.g., United States v. Jefferson, 258 F.3d 405, 413
(5th Cir. 2001).
                                                38
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representatives know that the blame lies with the Department and its negotiating partner, Boeing.

The Department and Boeing have contrived through the covertly crafted DPA to essentially sweep

away any real accountability.

        In now imposing appropriate conditions of release on Boeing, this Court must reasonably

assure the safety of the public. 18 U.S.C. § 3771(c). Boeing is an admitted corporate felon whose

crime killed hundreds of innocent passengers and crew in two deadly crashes. A third would be

horrific.

        The Court’s conditions of release must ensure that other families never suffer the same

devastation that the victims’ representatives have suffered. To that end, the Court should impose

on Boeing the conditions of release specifically described by the victims’ representatives above:

(1) a no-new-crimes condition; (2) a corporate monitor to transparently evaluate Boeing’s DPA

compliance; and (3) public release of the substance of Boeing’s DPA compliance efforts.




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Dated: January 25, 2023                        Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify that on January 25, 2023, the foregoing document was served on the parties to the

proceedings via the Court’s CM/ECF filing system.




                                                          /s/ Paul G. Cassell
                                                          Paul G. Cassell




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